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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
                               Plaintiff,       )
                                                )
vs.                                             )       Case No. 01-CR-30140-03-MJR
                                                )
EDWARD SEALS,                                   )
                                                )
                               Defendant.       )

                                MEMORANDUM and ORDER

REAGAN, District Judge:

               By opinion dated August 16, 2005, the United States Court of Appeals for the

Seventh Circuit directed a limited remand to this Court for proceedings consistent with United

States v. Paladino, 401 F.3d 471 (7th Cir. 2005), after Defendant Edward Seals (sentenced under

the then-mandatory scheme of the U.S. Sentencing Guidelines) challenged his sentence under

United States v. Booker, – U.S. –, 125 S.Ct. 738 (2005). Specifically, this Court sentenced Seals

to 360 months imprisonment, which included a term of 276 months for the count of aggravated

robbery and a term of 84 months for the count of using a firearm during the robbery. Now that the

guidelines, post-Booker, are advisory, the case has been returned, so this Court can determine

whether its sentence would be different.

               Paladino instructs that, on limited remand, the sentencing judge must determine

whether he would reimpose his original sentence. “If so, we will affirm the original sentence against

a plain-error challenge provided that the sentence is reasonable, the standard of appellate review

prescribed by Booker.” If, “on the other hand, the judge states on limited remand that he would have

imposed a different sentence had he known the guidelines were merely advisory,” the Seventh

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Circuit “will vacate the original sentence and remand for resentencing.” Paladino, 401 F.3d at 484.

               In deciding whether to reimpose the original sentence, this Court solicits the views

of counsel, via written briefs no longer than 10 pages (unless extraordinary circumstances are shown

via motion seeking leave to file oversized brief).

               The Government shall file its Paladino Memorandum on or before September 30,

2005. Defendant Seals shall file his Paladino Memorandum on or before October 14, 2005. These

memoranda should be electronically filed (using the Court’s CM/ECF system) by selecting

Criminal, then Memoranda in Support, Responses and Replies, then Response, and then (when

prompted) linking the memorandum to this Order by choosing Refer to Existing Events.

               The Court WILL HEAR ORAL ARGUMENT on this issue (permitting up to 15

minutes per side) at 3:15 p.m. on October 28, 2005, immediately after which the Court will

announce its ruling.

               Defendant Seals is not required to be present at this hearing. See FED. R. CIV. P.

43(b)(3); Paladino, 401 F.3d at 484. If Seals desires to appear, he must do so at his own expense;

the Court will not require the Government to secure his presence at this hearing.

               IT IS SO ORDERED.

               DATED this 12th day of September, 2005.


                                                     s/Michael J. Reagan
                                                     MICHAEL J. REAGAN
                                                     United States District Judge




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